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 9                               UNITED STATES DISTRICT COURT
10                          SOUTHERN DISTRICT OF CALIFORNIA
11

12 UNITED STATES OF AMERICA,                            Case No. 3:22-CR-01152-BAS
13                  Plaintiff,                          NON-PARTY QUALCOMM
14
                                                        INCORPORATED'S NOTICE OF
               V.
                                                        MOTION AND MOTION TO QUASH
15 KARIM ARABI, SHEIDA ALAN,                            RULE 17(c) SUBPOENA DUCES
     SANllV TANEJA, and ALI AKBAR                       TECUM; MEMORANDUM OF
16 SHOKOUHI,
                                                        POINTS AND AUTHORITIES
17                  Defendants.
18                                                      {Filed concurrently herewith
                                                        Declarations qfPadraic W. Foran and
19                                                      Byron Yafuso]
20                                                      Date:          TBD
                                                        Time:          TBD
21                                                      Courtroom:     12B
                                                        Judge:         Hon. Cynthia Bashant
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 1 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2             PLEASE TAKE NOTICE that, on a date and time to be determined by the
 3   Court, in the James M. Carter and Judith M. Keep United States Courthouse of the
 4 United States District Court for the Southern District of California, located at 333

 5   West Broadway, San Diego, CA 92101, Non-Party Qualcomm Incorporated
 6 ("Qualcomm"), by and through its undersigned counsel, will and hereby does move

 7   under Federal Rule of Criminal Procedure 17(c) and Criminal Local Rule 17.1 for an
 8   order quashing a Rule 17(c) subpoena served by Defendant Karim Arabi ("Arabi")
 9 on Qualcomm on or around October 30, 2024 (the "2024 Subpoena").

               This Motion is based on this Notice of Motion and Motion, the following
11 Memorandum of Points and Authorities in support thereof, the concurrently filed

12   Declarations of Padraic W. Foran and Byron Yafuso and Exhibits thereto, and any
13   other materials or facts on which the Court may rely.
14             As set forth in more detail in Qualcomm's Memorandum of Points and
15   Authorities, this Motion is brought on the grounds that the 2024 Subpoena requests
16   irrelevant, inadmissible, overbroad, and privileged information that unduly burdens
17   Qualcomm in contravention to Rule 17 of the Federal Rules of Criminal Procedure,
18   Rule 17 .1 of this District's Local Criminal Rules, and United States v. Nixon, 418
19   U.S. 683 (1974).
20             Accordingly, Qualcomm respectfully requests the Court grant its Motion and
21   quash the 2024 Subpoena.
22 Dated: November 20, 2024                   Respectfully submitted,
23                                            HUESTON HENNIGAN LLP
24

25                                            By: _ U ----=----=~                - -
                                                  Marshall A.
26                                                Counsel for Non
                                                  Qualcomm Inco
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 1                MEMORANDUM OF POINTS AND AUTHORITIES
 2 I.     INTRODUCTION
 3        Non-party Qualcomm Incorporated ("Qualcomm") brings this motion to quash
 4 a Rule 17 subpoena dated October 29, 2024 (the "2024 Subpoena"), which was served

 5 on it by Defendant Karim Arabi ("Arabi"). The 2024 Subpoena is the second improper
 6 subpoena that Arabi has served on Qualcomm-the victim of Arabi' s alleged fraud-

 7 in this case. Qualcomm moved more than a year ago to quash the prior subpoena (see

 8 Dkt. No. 150), and the Court largely granted the motion, agreeing with Qualcomm that
 9 the vast majority of the subpoena's requests reflected "nothing but a fishing

10 expedition" and failed to meet the Nixon standard that governs Rule 17 subpoenas by

11 criminal defendants seeking disclosures from third parties. Dkt. No. 183 (Oct. 13,

12 2023 Order) at 9; see id. at 4-11. Arabi's attempt at a second bite at the apple includes

13 requests similar to ones the Court previously rejected and others that fail for the same

14 reasons as the prior requests. This continued harassment of the victim in this case

15 should end, and the subpoena should be quashed.

16        As the Court noted in its prior ruling, a Rule 17(c) subpoena may be used by a
17 criminal defendant to obtain pretrial disclosures only when the defendant can

18 demonstrate that the documents sought by the subpoena "are evidentiary and relevant,

19 that they are necessary to prepare for trial, and that the requests are made in good faith
20 and not intended as a general 'fishing expedition."' Dkt. No. 183 at 4 (quoting United

21 States v. Nixon, 418 U.S. 683, 699-700 (1974)). As the Supreme Court has explained,
22 Rule 17(c) subpoenas are not intended "to provide a means of discovery" but only "to

23 expedite the trial by providing a time and place before trial for the inspection of

24 subpoenaed materials." Nixon, 418 U.S. at 698-99. In addition, a court may quash or

25 modify a Rule 17 subpoena if compliance would be "unreasonable or oppressive,"

26 including by calling for production of privileged information. Fed. R. Crim. P.

27 17(c)(2); see, e.g., United States v. Reyes, 239 F.R.D. 591, 598 (N.D. Cal. 2006) ("[A]

28 Rule 17(c) subpoena 'should be quashed or modified if it calls for privileged
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 1 matter."').    As with Arabi's pnor subpoena dated August 7, 2023 (the "2023
 2   Subpoena"), the 2024 Subpoena contains requests that should be quashed both because
 3   they fail to meet the Nixon elements and are unreasonable and oppressive.
 4         First, the 2024 Subpoena seeks "[a]ll materials, notes, recordings, transcripts
 5   and other documentation" related to any interviews of five individuals that were
 6 conducted in connection with Qualcomm' s investigation related to the acquisition of

 7 Abreezio. This request is duplicative of requests in the 2023 Subpoena that the Court
 8   previously rejected as "nothing but a fishing expedition," including requests for "[a]ll
 9 materials, notes, recordings, transcripts and other documentation ofQualcomm's post-
10 purchase investigation" and "[a]ll materials, notes, recordings, transcripts and other

11 documentation of Qualcomm' s interviews" with one of the five individuals identified

12   in the 2024 Subpoena. Compare Declaration of Padraic W. Foran ("Foran Deel."
13   Exhibit A (2024 Subpoena) at 5, with Dkt. No. 183 at 9 (Order quashing similar
14   requests in the 2023 Subpoena). These requests also fail because, as the Court
15   explained with respect to the similar requests in the 2023 Subpoena, they purport to
16   seek information that would at most be "solely useful for impeachment purposes," and
17   thus do not seek admissible, "evidentiary" materials as required by Nixon. 1 In addition,
18   as Qualcomm explained in connection with its prior motion, these requests call
19   explicitly for privileged materials: notes and memoranda prepared by Qualcomm's
20   outside litigation counsel.
21         Second, two of the requests in the 2024 Subpoena seek Qualcomm's highly
22   confidential computer source code. Source code is a category of design documentation
23   that is among Qualcomm's most competitively sensitive intellectual property, and the
24

25
     The Court also ordered Qualcomm to produce any information gleaned during
     1
26 internal interviews of certain witnesses to the Court for in camera review, or, if
27 Qualcomm believed such materials to be privileged, to produce a privilege log to the
   Court. Dkt. No. 183 at 8. Qualcomm complied with the Order and submitted a privilege
28 log and other documents to the Court on November 3, 2023.
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 1 company takes extraordinary measures to safeguard it, including when it must be made

 2 available for inspection in litigation. As is common in intellectual property litigation

 3 involving technology companies, Qualcomm typically makes its confidential source

 4 code for products accused of patent infringement available in litigation to vetted

 5 experts at an off-site facility, and subject to stringent protective order protections.

 6 Here, the requested confidential Qualcomm source code appears to have little, if any,

 7 relationship to this case or the offenses with which Arabi is charged, and Rule 17' s
 8 express recognition of the need to protect victims' "confidential information" weighs

 9 strongly against allowing Arabi to force his alleged victim to disclose such highly

10 sensitive information. See, e.g., United States v. Serta Assocs., Inc., 29 F.R.D. 136,
11 138 (N.D. Ill. 1961) (granting motion to quash subpoena for "confidential data and

12 business secrets" because the court was "not convinced of the relevancy of the

13 documents sought, and additionally because it would be most reluctant to force a non-
14 party [ ] to divulge confidential information"). Moreover, as explained below, the

15 requests for source code are overbroad in requesting a source code repository

16 containing the entire history of changes to, and versions of, files created by Abreezio

17 and purchased by Qualcomm (as opposed to a set of source code files for any specific

18 version of an Abreezio program), reflecting yet another apparent fishing expedition.

19 Arabi's requests should be quashed in any case as unduly burdensome and oppressive
20 given the resources that would be required for Qualcomm to attempt to locate and

21 produce potentially responsive source code and repositories.

22        Third, the 2024 Subpoena's request for "[a]ll post-acquisition reviews and
23 reports assessing the fair market value of the intellectual property Qualcomm acquired

24 in the Abreezio acquisition" likewise fails under the Nixon standard because it reflects

25 a fishing expedition and seeks irrelevant or inadmissible materials. The vague, open-

26 ended nature of the request makes clear that Arabi is not seeking specific evidence he

27 intends to introduce at trial, as required by Nixon, but instead attempting to obtain

28 pretrial "discovery" from a third party-a purpose for which both this Court and the
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  1 Supreme Court have made clear Rule 17 subpoenas cannot be used. Accord United
  2   States v. Lee, No. 5:06 CR 0424 JW, 2009 WL 724042, at *2 (N.D. Cal. Mar. 18, 2009)
  3   (noting Nixon "requires Rule 17 subpoena requests to be particularized and to identify
  4 specific items or documents that defendants believe in good faith are in existence").
  5   Even if Arabi could identify any specific documents that he seeks with this request-
  6 which he cannot-such documents would also be irrelevant and inadmissible. Arabi is
  7 alleged to have orchestrated a scheme to defraud Qualcomm into paying for
  8   intellectual property that it already owned. Whether Qualcomm prepared post-
  9 acquisition documents reflecting assessments of the market value of that intellectual
 10   property is irrelevant to whether Arabi committed the charged offenses. Also, any
 11 documents reflecting such assessments, which post-date the acquisition and would not
 12   have been seen by Arabi, would constitute inadmissible hearsay. Any potentially
 13   responsive materials thus separately fail under Nixon because they would clearly not
 14   be admissible or evidentiary.
 15         Finally, Defendant seeks all litigation hold notices and releases with respect to
 16   the Abreezio acquisition that Qualcomm provided to its employees-yet another
 17   fishing expedition request that calls for obviously privileged documents. Whether
 18   Qualcomm issued "litigation holds" in relation to the Abreezio acquisition has nothing
 19 to do with whether Arabi defrauded Qualcomm, and in any case such "holds" would
 20   clearly constitute Qualcomm's attorney-client communications and attorney work
 21   product. See, e.g., Cohen v. Trump, No. 13-CV-2519-GPC WVG, 2015 WL 3617124,
 22   at *7 (S.D. Cal. June 9, 2015) (holding that a "hold memo itself is privileged");
 23   Persona/Web Techs., LLC v. Google Inc., No. C13-01317 EID (HRL), 2014 WL
 24   4088201, at *4 (N .D. Cal. Aug. 19, 2014) ("the Court agrees ... that the litigation hold
 25   notice itself is protected as attorney-client communications and/or work product").
 26         Accordingly, and for the reasons set forth below, Qualcomm respectfully
 27   requests that the Court grant this motion and enter an order quashing the 2024
 28   Subpoena.
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  1 II.     FACTUAL BACKGROUND 2
  2         A.    Qualcomm Is Defrauded into Purchasing Abreezio.
  3         From 2007 to 2012, Arabi worked for Qualcomm as a Vice President of
  4   Engineering, and from 2013 to 2016 as a Vice President of Research and Development.
  5 Dkt. No. 9 (Superseding Indictment) 1 1. As a Qualcomm employee, Arabi was bound

  6   by agreements providing generally that any intellectual property he created during his
  7   employment would be owned by Qualcomm. Id.
  8         In October 2015, while Arabi was still employed by Qualcomm, the company
  9   agreed to pay $180 million to acquire Abreezio, LLC, which had been presented to
 10 Qualcomm as an "angel-funded Silicon Valley based" startup with "groundbreaking

 11 technology" originally invented by Canadian graduate student Sheida Alan. Id. 11 2,
 12 16. Unbeknownst to Qualcomm at the time, "Sheida Alan" was in fact Arabi's sister:

 13 she had changed her name from Sheida Arabi just months before Qualcomm's

 14 acquisition of Abreezio closed. Id. 116.w. And although Ms. Alan was pursuing a

 15 master's degree in Canada, her research had nothing to do with the sophisticated

 16 semiconductor technology attributed to Abreezio. Id. 12. In fact, it was Defendant

 17 Karim Arabi who was intimately involved in the formation of Abreezio and the
 18 development of its technology-facts that he and his co-Defendants went to great

 19 lengths to conceal from Qualcomm, and to falsely attribute to Ms. "Alan," in order to

 20 dupe the company into agreeing to pay $180 million for technology developed by its

 21 own employee. See id. 11 15-16.

 22         Arabi was charged with wire fraud conspiracy, wire fraud, and conspiracy to
 23 launder monetary instruments. See generally Dkt. No. 9 (Superseding Indictment). On

 24 August 10, 2023, Defendant Sanjiv Taneja entered a guilty plea pursuant to an

 25 agreement in which he admitted, among other things, that he participated with Arabi

 26

 27
      2 Sections II(A)-(C) are contained in Qualcomm's 2023 motion to quash and
 28 reproduced here for the Court's convenience with minor edits and additions.
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  1 in a scheme to defraud Qualcomm in connection with its agreement to purchase
  2 Abreezio by concealing Arabi's role in the company's formation, development and

  3 marketing, and by attributing Arabi's actions to Sheida Alan. See Dkt. No. 144 (Plea

  4 Agreement) at 3--4. On October 5, 2023, Defendant Ali Akbar Shokouhi admitted he
  5 participated with Arabi in the same fraudulent scheme. See Dkt. No. 179 (Plea
  6 Agreement) at 3-5.
  7        B.    In Civil Litigation Against Arabi, Qualcomm Produced Nearly
  8              100,000 Documents.
  9        In 2017, after uncovering Arabi's fraud, Qualcomm filed a civil action in San
 10 Diego Superior Court against Arabi, Alan, and Taneja, captioned Qualcomm v. Arabi
 11 et al., Case Number 37-2017-00040719-CU-FR-CTL (S.D. Super.) (Trapp, J.) (the

 12 "Civil Litigation"). In connection with the Civil Litigation, Arabi sought, and

 13 Qualcomm produced, enormous volumes of information, including nearly 100,000

 14 documents. Dkt. No. 150-1 15. Arabi's discovery requests included at least 57

 15 document requests, 32 special interrogatories, and 30 requests for admission. Id. Many

 16 of these requests overlapped substantially with, or sought information encompassed

 17 by, the requests contained in the 2024 Subpoena. In response to these and dozens of

 18 other requests, Qualcomm produced approximately 99,868 documents. Dkt. No. 150-

 19 115.
 20        C.    Qualcomm Provided All the Civil Discovery to the Government.
 21        During its investigation in this case, the Government served Qualcomm with
 22 two grand jury subpoenas containing 15 documents requests. Id. 1 6. These requests

 23 sought, among other things, every document that any party had produced in the Civil

 24 Litigation. Id. ("All documents, records and ESI produced by any party in connection

 25 with the Civil [Action]"). Qualcomm produced approximately 102,508 documents to

 26 the Government in response to these subpoenas, including every one of the 99,868

 27 documents that Qualcomm had previously produced to Arabi in the Civil Litigation.

 28 Id. 17. Qualcomm also produced other documents to the Government, such as

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  1 interrogatory responses and other written discovery from the Civil Litigation, certain
  2 Qualcomm company policies and personnel records relevant to this case, and other

  3 materials. Id. Qualcomm understands that the Government has made these materials
  4 available to the Defendants in this case. Id. , 8.

  5        D.     The Court Quashes Defendant's August 7, 2023 Subpoena Almost
  6               Entirely.
  7        On August 7, 2023, Arabi served Qualcomm with the 2023 Subpoena. Id. , 2.
  8 It contained no fewer than 49 requests, broadly seeking (among other things) three

  9 categories of documents: (1) materials relating to Qualcomm's investigation of the

 10 fraudulent Abreezio acquisition, including materials from witness interviews allegedly

 11 conducted for at least 13 people and entities; (2) communications between Qualcomm
 12 and its representatives and the Government relating to Arabi's crimes; and (3) all

 13 personnel files of anyone remotely related to Qualcomm's investigation, including
 14 those "who had a relationship with Dr. Arabi while he worked at Qualcomm." See Dkt.

 15 No. 150-2 (2023 Subpoena).

 16        Qualcomm moved to quash on August 28, 2023, and Defendant opposed. Dkt.
 17 Nos. 150; 157. The Court heard argument on the motion on October 2, 2023, noting
 18 that several of Defendant's requests were "very broad" and amounted to a "fishing

 19 expedition." Dkt. No. 182 (Hearing Transcript) at 4:4; 14:10. The Court also
 20 questioned the relevance and admissibility of Defendant's requests, including the

 21 request for documentation of witness interviews. Id. at 4:14-17 ("With respect to the

 22 first request, the documentation of interviews, is there any relevance other than

 23 potential impeachment? I mean, they wouldn't be otherwise admissible; right?").

 24 During the hearing, counsel for Qualcomm also explained that-in addition to the

 25 relevance and admissibility issues the Court noted-responsive witness interviews

 26 were conducted by outside counsel and materials relating to them were privileged. Id.

 27 at 19:13-20:5. And as Qualcomm withheld these materials from the Government,

 28 Qualcomm had maintained and not waived any privilege. Id.

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  1        On October 13, 2023, the Court issued its order, granting in part and denying in
  2 part. Dkt. No. 183. The Court denied Qualcomm's motion to quash only with respect

  3 to the first category of documents (witness interview materials), and only in part. The
  4 Court held that "any information gleaned during Qualcomm' s internal interviews
  5 would be solely useful for impeachment purposes," and the majority of Arabi's

  6 requests were "nothing but a fishing expedition." Id. at 8-9. Specifically, Defendant
  7 failed to show even an "articulable suspicion that there [wa]s something in
  8 Qualcomm's files that ha[d] not been produced that might be material to his defense."

  9 Id. at 8. The Court thus ordered Qualcomm to produce-to the Court in camera, and
 10 only to the extent they were not already produced to the Govemment---documentation

 11 of Qualcomm's interviews of just three witnesses: Joseph Fang, Kevork Kechichian,

 12 and Saniv Taneja. Additionally, the Court required a showing of "specific
 13 information" to support Arabi's requests for these witnesses because Arabi already

 14 "appear[ed] to have a great deal of information from Qualcomm's internal

 15 investigation." Id. at 3, 7. Recognizing that Qualcomm held privilege over documents

 16 relating to the interviews, the Court also ordered Qualcomm to submit a log. Id. at 8,

 17 11.

 18        The Court granted in full Qualcomm's motion to quash Defendant's requests
 19 seeking the second category (communications between Qualcomm's outside counsel

 20 and the government seeking Arabi's prosecution) and third category of documents

 21 (personnel files). For the second category, the Court found that Arabi "fail[ed] to detail

 22 what production of . . . documentation would reveal in the way of relevant of

 23 admissible evidence." Id. at 9. Similarly, for the third category, the Court found the

 24 request "clearly overbroad" as Defendant "fail[ed] to show what admissible evidence

 25 is likely to be found" and "a great deal of obviously inadmissible, private information

 26 is likely to be swept up ...." Id. at 10.

 27        Qualcomm complied with the Court's order on November 3, 2023, lodging
 28 (1) all non-privileged materials ofQualcomm's interview(s) with Joseph Fang, Kevork

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  1 Kechichian, and Sanjiv Taneja not already produced to the Government that
  2 Qualcomm or Qualcomm' s outside counsel had in their custody, possession, or

  3 control; and (2) a privilege log. Foran Deel. , 3. No one challenged any entry on

  4 Qualcomm's privilege log. Id.

  5         E.    The October 30, 2024 Subpoena.
  6         A year later, Defendant has again subpoenaed Qualcomm, again seeking many
  7 of the same documents. Foran Deel. Ex. A (2024 Subpoena). The 2024 Subpoena,

  8 which Arabi served on Qualcomm on October 30, 2024 contains seven requests, five

  9 of which are at issue and summarized below .3 See id.

 10       • Additional interview materials: Request 1 demands "[a]ll materials, notes,
 11         recordings, transcripts and other documentation of any interview of, or phone
 12         call with" five individuals (Ziad Mansour, Duane Nelles, Bradley Quinton,
 13         Hiten Somwal, and Jim Thompson), including "any and all documents produced
 14         by the individuals to Qualcomm" during Qualcomm's investigation relating to
 15         its acquisition of Abreezio in and around 2017 and December 2018. Defendant
 16         does not request documents that were already produced to the Government but
 17         demands that Qualcomm "produce all factual statements made by or attributed
 18         to the identified witnesses," suggesting "[a]ny attorney thoughts or impressions
 19         included in any interview summary may be redacted." Foran Deel. Ex. A at 5.
 20       • Source code and revision control repositories: Request 2 demands
 21

 22   This Motion does not address Requests 5 and 6. Request 5 demands a "privilege log
      3

 23 identifying all documents withheld by Qualcomm in response to the government's
    grand jury subpoena issued on May 14, 2020." Foran Deel. Ex. A at 6. Qualcomm did
 24 not prepare any privilege log in response to the May 2020 subpoena and thus has no
 25 responsive documents, as noted in Qualcomm's November 14, 2024 responses and
    objections to the Subpoena. Foran Deel. , 8. Request 6 demands a "privilege log
 26 identifying all documents withheld by Qualcomm in response to this Subpoena." Foran
 27 Deel. Ex. A at 6. As Qualcomm has not agreed to produce any documents in response
    to the 2024 Subpoena, it has no documents responsive to this request either, as noted
 28 in its November 14, 2024 responses and objections.
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  1        "Abreezio's source code and revision control repository, including all metadata"
  2        that former Invionics employees allegedly delivered to Qualcomm employee
  3        Robert Kwan on a USB key or hard drive, "in or around early November 2015."
  4        Foran Deel. Ex. A at 5. Similarly, Request 3 demands "[a]ll source code and
  5        revision control repositories, including all metadata related to any Field
  6        Programmable Gate Array ('FPGA') demos Abreezio presented to Qualcomm
  7        during due diligence." Id.
  8     • Assessments of the fair market value of intellectual property: Request 4
  9        demands "[a]ll post-acquisition reviews and reports assessing the fair market
 10        value of the intellectual property Qualcomm acquired in the Abreezio
 11        acquisition." Foran Deel. Ex. A at 5.
 12     • Legal hold notices: Request 7 demands "[a]ll emails and other documentation
 13        regarding the preservation notices or legal hold notices and releases of those
 14        preservation notices or legal hold notices with respect to the Abreezio
 15        acquisition that were provided to Qualcomm employees." Foran Deel. Ex. A at
 16        6.
 17        Qualcomm served responses and objections to the subpoena on November 14,
 18 2024. ForanDecl., 5. ThepartiesmetandconferredonNovember 15, 2024 regarding

 19 the (in)validity of the subpoena requests and were unable to narrow the scope of their

 20 disagreement. Id.

 21 III.   LEGAL STANDARD
 22        General discovery is not available to defendants in criminal cases. Rule 16 of
 23 the Federal Rules of Criminal Procedure prescribes the limited scope and substance of

 24 criminal discovery. Defendants have no generalized right to issue subpoenas calling

 25 for production of documents or other materials before trial. Under Rule 17(c), a

 26 subpoena that requires a witness to produce materials before trial must be approved by

 27 the court. Fed. R. Crim. P. 17(c)(l). As the Supreme Court and Ninth Circuit have

 28 repeatedly held, however, Rule 17(c) "was not intended to provide a means of

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  1 discovery for criminal cases." United States v. Nixon, 418 U.S. 683, 698-99 (1974);
  2   Bowman Dairy Co. v. United States, 341 U.S. 214,220 (1951) ("It was not intended
  3   by Rule 16 to give a limited right of discovery, and then by Rule 17 to give a right of
  4 discovery in the broadest terms."). Rather, the purpose of Rule 17 is specific and
  5   narrow: "to expedite the trial by providing a time and place before trial for the
  6 inspection of subpoenaed materials." Nixon, 418 U.S. at 698-99. A defendanttherefore
  7 may not use a Rule 17(c) subpoena as an end-run around the limited documents and
  8   information available under Rule 16.
  9         To ensure that Rule 17(c) subpoenas do not morph into a general discovery tool,
 10   the Federal Rules of Criminal Procedure and the courts place strict guardrails on their
 11 use. To obtain documents under Rule 17(c), the Supreme Court in Nixon held that a
 12   defendant must show, at minimum:
 13         (1) that the documents are evidentiary and relevant; (2) that they are not
            otherwise procurable reasonably in advance of trial by exercise of due
 14
            diligence; (3) that the party cannot properly prepare for trial without such
 15         production ... ; and (4) that the application is made in good faith and is
            not intended as a general 'fishing expedition.'
 16
 17   Id. at 699-700. 4 This District has codified this Nixon language, almost word for word,
 18   in its Local Rules. See Local Criminal Rule 17.1 (requiring defendants to submit
 19 affidavit meeting Nixon factors to issue Rule 17 subpoena).

 20         Applying these principles, Nixon and its progeny hold that the proponent of a
 21   Rule 17(c) subpoena has the burden to show that the requested documents are relevant,
 22   admissible, and specifically identified. Nixon, 418 U.S. at 700. The proponent must
 23   also "demonstrate that the subpoenaed materials are not available from any other

 24
      4 The Ninth Circuit applies the Nixon standard when determining whether to quash a
 25
    Rule 17 subpoena served on a non-party like Qualcomm. See, e.g., United States v.
 26 Fields, 663 F.2d 880, 881 (9th Cir. 1981) ("[W]e see no basis for using a lesser
 27 evidentiary standard merely because production is sought from a third party rather than
    from the United States.") (citation omitted). As this Court has held, "the Nixon
 28 standard remains the law for Rule 17(c) subpoenas." Dkt. No. 183 at 4.
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  1 source." United States v. Eden, 659 F.2d 1376, 1381 (9th Cir. 1981). In addition, even

  2 when a subpoena meets the above requirements, it may still be quashed if a court
  3 concludes that compliance with the subpoena would be "unreasonable or oppressive."

  4 Fed. R. Crim. P. 17(c)(2). This includes, among other circumstances, where a
  5 subpoena "calls for privileged matter."' United States v. Reyes, 239 F.R.D. 591, 598

  6 (N.D. Cal. 2006).
  7        Courts are also especially sensitive to subpoenas that seek information from or
  8 about a victim. Where such a subpoena seeks "personal or confidential information

  9 about a victim," it may be served only by court order, and, barring exceptional
 10 circumstances, the order may be issued only after "giving notice to the victim so that
 11 the victim can move to quash or modify the subpoena or otherwise object." Fed. R.

 12 Crim. P. 17(c)(3).

 13 IV.    ARGUMENT
 14        Arabi's 2024 Subpoena is a generalized "fishing expedition" that cannot meet
 15 the required elements for a pretrial subpoena in a criminal case because it is

 16 unreasonable and oppressive. The requests in the 2024 Subpoena lack specificity and

 17 seek materials that are irrelevant and otherwise inadmissible, and privileged. The

 18 subpoena should therefore be quashed.

 19        A.    Request 1 (Interview Materials) Is Duplicative of the 2023 Subpoena
 20              and Seeks Inadmissible, Privileged Materials.
 21        As described above, Request 1 demands "[a]ll materials, notes, recordings,
 22 transcripts and other documentation of any interview of, or phone call with" five

 23 individuals (Ziad Mansour, Duane Nelles, Bradley Quinton, Hiten Somwal, and Jim

 24 Thompson), including "any and all documents produced by the individuals to

 25 Qualcomm" during the course of Qualcomm' s investigation relating to its acquisition

 26 of Abreezio in and around 201 7 and December 2018, "to the extent such documents

 27 have not been already produced to the government." Foran Deel. Ex. A at 5. This

 28 request is improper for several reasons.

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  1        As an initial matter, this request duplicates requests from the 2023 Subpoena
  2 that the Court already rejected. RequestA(2) from the 2023 Subpoena demanded "[a]ll

  3 materials, notes,    ... and other documentation of Qualcomm's post-purchase
  4 investigation," and Request A(5) demanded "[a]ll materials, notes, ... and other

  5 documentation of Qualcomm's interviews with Brad Quinton." These requests

  6 effectively sought all materials, notes, and documentation of interviews of Nelles,

  7 Somwal, Thompson, and Quinton-the very requests that Arabi makes again in the

  8 2024 Subpoena. Dkt. No. 150-2 at 5; Foran Deel., 6. The Court has already rejected

  9 these requests as "nothing but a fishing expedition." Dkt. No. 183 at 9. Arabi cannot

 10 justify reviving these rejected demands. As in 2023, he continues to "fail[] to show

 11 [even] articulable suspicion that there is something in Qualcomm' s files that has not
 12 been produced that might be material to his defense." Id. at 8.

 13        Meanwhile, Qualcomm's litigation counsel did not interview Mansour in
 14 connection with its investigation of the Abreezio acquisition, and Qualcomm thus does

 15 not have any documents responsive to Request l(a). Foran Deel., 6. This fact alone

 16 demonstrates that Arabi' s request for additional interview materials is a fishing

 17 expedition-Defendant apparently "do[ es] not know what the evidence consists of or

 18 what it will show." United States v. Lee, No. 5:06 CR 0424 JW, 2009 WL 724042, at

 19 *2 (N.D. Cal. Mar. 18, 2009) (granting in part motion to quash Rule 17 subpoena).

 20        Nor can Arabi overcome the hurdle that Qualcomm's interview materials are
 21 inadmissible. As the Court previously held, "any information gleaned during

 22 Qualcomm's internal interviews would be solely useful for impeachment purposes"

 23 (Dkt. 183 at 8) because the assessment of Qualcomm and its counsel regarding Arabi's

 24 liability or culpability is inadmissible hearsay and otherwise irrelevant. See Reyes, 239

 25 F.R.D. at 600 (finding "summaries, notes and memoranda related to the interviews of

 26 [ ] employees [ ] includes only hearsay," and defendant's former employer's

 27 "attorney's formal opinion about whether any crimes were committed would not be

 28 relevant evidence .... "); United States v. Collins, No. 11-CR-00471-DLJ PSG, 2013

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  1 WL 1089908, at *4 (N.D. Cal. Mar. 15, 2013) (quashing subpoena requests that
  2   "explicitly call[ed] for inadmissible hearsay" about relevant topics and did not satisfy
  3   any hearsay exception). As the Supreme Court has held, "[g]enerally, the need for
  4 evidence to impeach witnesses is insufficient to require its production in advance of

  5   trial." Nixon, 418 U.S. at 701; see also Reyes, 239 F.R.D. at 601 ("Unfortunately for
  6 [defendant], Rule 17(c) does not entitle him to the pre-trial production of impeachment

  7 material.").

  8         In addition to the admissibility problem, Request 1 calls for privileged materials:
  9 notes and memoranda that Qualcomm' s outside litigation counsel prepared, in

 10 connection with interviews they conducted, at the direction of Qualcomm's in-house
 11 counsel, and in anticipation of or as part of the Civil Litigation. Foran Deel. , 7.

 12   Qualcomm does not have any transcripts or recordings of interviews---only notes and
 13   memoranda by outside counsel that reflect legal advice and attorneys' mental
 14   impressions. Id. It is black-letter law that these documents are both attorney-client
 15   communications and attorney work product. 5 Upjohn Co. v. United States, 449 U.S.
 16   383, 397, 401 (1981) (finding "communications by [ ] employees to counsel are
 17   covered by the attorney-client privilege" and the "notes and memoranda sought by the
 18   Government . . . are work product based on oral statements"). Because it calls for
 19   privileged materials, Request 1 is thus unreasonable and oppressive and "should be
 20   quashed." Reyes, 239 F.R.D. at 598.
 21         In an apparent concession that Request 1 calls for privileged materials,
 22   Defendant half-heartedly suggests that "factual statements made by or attributed to the
 23   identified witnesses" may be produced and "[a]ny attorney thoughts or impressions
 24   included in any interview summary may be redacted." Foran Deel. Ex. A at 5. This is
 25   nonsense. When an attorney takes notes or prepares a memorandum of a key witness
 26
 27   Tellingly, Arabi did not challenge any of the privilege log entries Qualcomm
      5

    submitted to the Court describing these documents in connection with the 2023
 28 Subpoena. Foran Deel., 3.
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  1   interview, it is not possible to disentangle "factual" statements from the attorney's
  2   privileged thoughts and impressions. The entire document is privileged: "facts
  3   contained within [attorneys'] notes are likely inextricably tied with the attorneys'
  4 mental thoughts and impressions," and "revelation of all the purely factual assertions

  5   elicited from an interviewee may reveal the questions asked and therefore the
  6 attorneys' mental impressions and conclusions." S.E.C. v. Roberts, 254 F.R.D. 371,

  7 383 (N.D. Cal. 2008) (denying request for disclosure of factual information within

  8   interview notes). As the Supreme Court has explained, "[f]orcing an attorney to
  9 disclose notes and memoranda of witnesses' oral statements is particularly disfavored

 10 because it tends to reveal the attorney's mental processes." Upjohn, 449 U.S. at 399;

 ll see also Republic o/Ecuadorv. Mackay, 742 F.3d 860,869, fn.3 (9th Cir. 2014) ("[A]n

 12   attorney's mental impressions, conclusions, opinions, or legal theories . . . [are]
 13   virtually undiscoverable.") (cleaned up); Baker v. Gen. Motors Corp., 209 F.3d 1051,
 14   1054 (8th Cir. 2000) (finding "[a]ttorney notes reveal an attorney's legal conclusions
 15   because, when taking notes, an attorney often focuses on those facts that she deems
 16   legally significant" and "the judge clearly erred because she ordered disclosure of
 17   opinion work product").
 18         Additionally, if Qualcomm were required to attempt to separate "factual"
 19   statements from privileged content in its privileged interview materials, this would
 20   create unworkable line-drawing issues and be unduly burdensome on Qualcomm and
 21   its representatives. Such a request is both unreasonable and oppressive under Rule
 22   17(c)(2). See United States v. Pac. Gas & Elec. Co., No. 14-CR-00175-TEH, 2016
 23   WL 3350326, at *3 (N.D. Cal. June 16, 2016) (quashing as overly burdensome a Rule
 24   17 subpoena request that would have required subpoenaed party to spend more than
 25   80 hours gathering documents); United States v. Jungen, No. 13-CR-121, 2014 WL
 26   4924654, at *5 (E.D. Wis. Sept. 30, 2014) (quashing Rule 17(c) subpoena in part
 27   because "the sheer amount of information that [the subpoenaed parties] would have to
 28

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  1   review, in addition to creating a privilege log, would, in this court's view, be unduly
  2   burdensome.").
  3         In sum, Request 1 duplicates requests that the Court quashed in the 2023
  4 Subpoena and calls for irrelevant hearsay that is privileged. In the words of the Court,

  5   Arabi "appears to be fishing for evidence that might possibly be useful without having
  6 any idea or providing any suggestion as to what that evidence might be," resulting in

  7 an "abuse of Rule 17(c)." Dkt. No. 183 at 10. The Court, therefore, should decline

  8   Arabi's invitation to revisit this issue and quash his demand for these materials. 6
  9         B.     Requests 2 and 3 (Source Code) Seek Highly Sensitive Information
 10                that Is Both Irrelevant and Burdensome for Qualcomm to Gather.
 11         Requests 2 and 3 seek Qualcomm's highly sensitive "source code and revision
 12   control repositor[ies], including all metadata." A revision control repository is a
 13   database containing the entire history of versions of source code files (i.e., every
 14   version of every source code file that ever existed for a software project). Declaration
 15   of Byron Yafuso ("Yafuso Deel."), 9. Request 2 demands production of source code
 16   and revision control repositories, including all metadata, that former Invionics
 17   employees allegedly delivered to Qualcomm employee Robert Kwan on a USB stick
 18   or hard drive in or around November 2015. Foran Deel. Ex. A at 5. Request 3 seeks
 19   source code and revision control repositories, including all metadata, related to "any
 20   Field Programmable Gate Array ('FPGA') demos Abreezio presented to Qualcomm
 21   during due diligence." Id.
 22         Following Qualcomm's acquisition of Abreezio, the confidential "source code
 23   and revision control repositor[ies], including all metadata" became Qualcomm's
 24

 25
      In the alternative, if the Court is inclined to allow the production of materials
      6

 26 responsive to Request 1, Qualcomm requests the Court order in camera inspection of
 27 materials "so that the court may review the material and disclose it, if ever, when it
    becomes ripe for impeachment," Reyes, 239 F.R.D. at 600, along with a privilege log.
 28 See Dkt. No. 183 at 5 (the Court's October 13, 2023 ordering same for three witnesses).
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  1 intellectual property. As a leading technology company, this information is

  2 competitively sensitive, and Qualcomm must take careful measures to protect it.

  3 Yafuso Deel. 12. To start, revision control repositories are not human-readable

  4 "source code" that Qualcomm generally makes available for discovery. See id. 19

  5 ("For more than 15 years, I have been heavily involved in managing source code

  6 discovery processes and protocols at Qualcomm, and I am unaware of Qualcomm ever

  7 making available for inspection in litigation a revision control repository .... "). And
  8 where Qualcomm's source code is genuinely at issue in civil litigation-and subject

  9 to civil litigation's much farther-reaching discovery-Qualcomm requires the entry of

 10 a supplemental protective order that specifies the protocol for protecting its source

 11 code. Id. 1 3. Under these protective orders, source code is generally available for

 12 review at a secure third-party facility. See Yafuso Deel. Ex. A 131(a)(i); Ex. B

 13 131(a)(i); Ex. C 132(a)(i); Ex. D 132(a)(i). Additionally, typically only experts and
 14 outside counsel retained specifically for the litigation-not employees of a party

 15 itself-may inspect the source code. Yafuso Deel. 1 3. During the inspection,

 16 Qualcomm imposes numerous necessary restrictions to protect the source code, such

 17 as restrictions on the process of creating limited numbers of hard copy pages of select

 18 source code excerpts, and restrictions on access to hard copy pages of source code

 19 printouts. Id. 15. These steps are essential to protect Qualcomm's sensitive source

 20 code, and courts around the country have adopted these measures. Yafuso Deel. 1 3.

 21        Rule 17 explicitly recognizes the need to protect victims' "confidential
 22 information." Fed. R. Crim. P. 17(c)(3). Meanwhile, Arabi cannot articulate even a

 23 minimal showing of relevancy for Qualcomm' s confidential source code, let alone

 24 enough to meet the stringent Rule 17 standard. "It is not enough that the documents

 25 requested in a Rule 17(c) subpoena duces tecum may have some potential of relevance

 26 and evidentiary use." United States v. Sellers, 275 F.R.D. 620, 624 (D. Nev. 2011).

 27 Rather, the proponent must show that there is a "sufficient likelihood" that the

 28 documents requested by the Subpoena are "relevant to the offenses charged in the
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  1   indictment." Id. The source code that Qualcomm acquired from Abreezio would not
  2   shed any light on Defendant's charges for wire fraud conspiracy, wire fraud, and
  3   conspiracy to launder monetary instruments. See generally Dkt. No. 9 (Superseding
  4 Indictment). Nor can Arabi show, as he would have to, that such source code is
  5   admissible. Nixon, 418 U.S. at 700. Because "[t]he source code ... is simply not
  6 relevant to determining any issue in the case," Requests 2 and 3 cannot meet the Nixon
  7 standards and should be quashed. United States v. Brashear, No. 4:11-CR-0062, 2013
  8   WL 6065326, at *4 (M.D. Pa. Nov. 18, 2013) (granting motion to quash Rule 17
  9 subpoena for source code where it was "unclear how obtaining the . . . source code
 10   would shed any further light on th[ e] alleged violation"); see also United States v.
 11 German, No. 4:12-MJ-275, 2013 WL 5347360, at *3 (M.D. Ga. Sept. 23, 2013)
 12   (granting motion to quash Rule 17 subpoena demand for source code because "any
 13   testimony or documents regarding ... source code are irrelevant to this action"); United
 14   States v. Akhavan, 505 F. Supp. 3d 289,291 (S.D.N.Y. 2020) (quashing subpoena even
 15   when it was "doubtless" that "relevant information [was] among the nine categories of
 16   documents" requested because the court would "not command [the subpoenaed party]
 17   to tum over the haystack so that [the defendant] can extract the needle").
 18         In addition, even the act of searching for the requested source code and revision
 19   control repositories in this case (let alone making it available) would be unduly
 20   burdensome and oppressive to Qualcomm. The materials requested are more than nine
 21   years old. This intellectual property, if it still exists, would have been copied onto
 22   magnetic tape disaster-recovery media and archived, amongst thousands of similar
 23   records, at an off-site location of Qualcomm's vendor. Yafuso Deel. 18. Identifying
 24   the media and restoring it to reviewable form (if possible) would be an expensive,
 25   time-consuming, and potentially unreliable process. Id. Furthermore, the request for
 26   entire revision control repositories is overbroad and would be even more burdensome
 27   to Qualcomm to track down than inspection of source code. Id. 1 9. This burden on
 28   Qualcomm alone justifies quashing Defendant's Requests 2 and 3. See Pac. Gas &
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  l Elec. Co., 2016 WL 3350326, at *3 (quashing as unduly burdensome Rule 17

  2 subpoena request).

  3        At bottom, Requests 2 and 3 seek highly sensitive, irrelevant information that
  4 would be unduly burdensome for Qualcomm to search for and collect. Coupling the

  5 commercially sensitive nature of these requests with their lack of relevance, Arabi

  6 cannot justify production of Qualcomm' s highly confidential intellectual property.
  7 This is particularly true because Arabi-who, as the indictment in this case outlines,

  8 cannot be trusted with such commercially sensitive information-is demanding the

  9 information from the non-party victim. See, e.g., United States v. Serta Assocs., Inc.,

 10 29 F.R.D. 136, 138 (N.D. Ill. 1961) (granting motion to quash subpoena for
 11 "confidential data and business secrets" because the court was "not convinced of the

 12 relevancy of the documents sought, and additionally because it would be most

 13 reluctant to force a non-party [] to divulge confidential information"). The requests

 14 are "unreasonable and oppressive" and should be quashed. See Fed. R. Crim. P.

 15 17(c)(2).7

 16        C.    Request 4 (Reports Assessing Fair Market Value of IP) Seeks
 17              Irrelevant Information and Is Overbroad.
 18        Request 4 seeks "[a]ll post-acquisition reviews and reports assessing the fair
 19 market value of the intellectual property Qualcomm acquired in the Abreezio
 20 acquisition." Foran Deel. Ex. A at 5. This request fails Nixon's requirements because

 21 it seeks documents that are irrelevant, inadmissible, and non-specific.

 22        Like Arabi' s other irrelevant requests fishing for information, Request 4
 23 demands information that is in no way "relevant to the offenses charged in the

 24 indictment." Sellers, 275 F.R.D. at 624. Arabi defrauded Qualcomm into buying

 25

 26   In the alternative, should the Court be inclined to order Qualcomm to produce any of
      7

 27 its confidential intellectual property in this case, Qualcomm requests the Court require
    the entry of a supplemental protective order and allow Qualcomm an opportunity to
 28 be heard if the parties cannot reach agreement on its terms.
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  1 intellectual property that it already owned. Whether Qualcomm prepared post-

  2   acquisition documents reflecting assessments of the market value of that intellectual
  3   property (and whether such value was high, low, or in between) is irrelevant to whether
  4 Arabi committed the charged offenses. In short, Qualcomm's assessment of the fair

  5   market value of intellectual property it acquired from Abreezio has no connection to
  6 Defendant's fraud and conspiracy charges. 8 See generally Dkt. No. 9. Further, any

  7 documents reflecting fair market value assessments which post-date the acquisition

  8   and would not have been seen by Arabi would clearly constitute hearsay. For the same
  9 reasons, such an assessment would not be evidentiary and admissible.

 10         This request also fails the specificity prong of the Nixon test, which "requires
 11 Rule 17 subpoena requests to be particularized and to identify specific items or

 12   documents that defendants believe in good faith are in existence." Lee, 2009 WL
 13   724042, at *2 (citing Nixon, 418 U.S. at 700). "The mere hope that the documents
 14   sought will produce favorable evidence is not sufficient"-specificity "is not satisfied
 15   if the defendants do not know what the evidence consists of or what it will show." Id
 16

 17
      In connection with the parties' meet and confer efforts, counsel for Arabi cited several
      8

 18 cases to support the purported relevance of Request 4. See Foran Deel. Ex. B (citing
 19 United States v. Miller, 953 F.3d 1095 (9th Cir. 2020); Shaw v. United States, 137 S.
     Ct. 462 (2016); Kisor v. Wilkie, 139 S. Ct. 2400 (2019); United States v. Castillo, 69
 2 0 F.4th 648 (9th Cir. 2023); United States v. Banks, 55 F.4th 246 (3d Cir. 2022)). None
 21 supports Arabi' s position. Miller and Shaw stand for the uncontroversial proposition
     that "wire fraud requires the intent to deceive and cheat - in other words, to deprive
 22 the victim of money or property by means of deception." Miller, 953 F.3d at 1103.
 23 Arabi intended to (and did) deceive and cheat Qualcomm into paying more than $100
     million to "acquire" intellectual property that Qualcomm already owned. Whatever
 24 the fair market value of this intellectual property, the entire purchase price is an actual
 25 loss. See Banks, 55 F.4th at 257 (sentencing guidelines consider the victim's "actual
     loss"). Castillo, meanwhile, applied Kisor to consider the definition of "controlled
 26 substance offense." Castillo, 69 F.4th at 651. None of Arabi's cited cases can support
 27 any argument that when a defendant defrauds his victim into buying back its own
     property, the defendant should get expansive discovery into the victim's assessment
 28 of the fair market value of that property.
                                               - 21 -
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  1 Request 4 is unbound by time, ambiguously requesting all "post-acquisition reviews

  2 and reports" that assess the "fair market value of the intellectual property" at any time

  3 since Qualcomm acquired Abreezio in 2015 (i.e., over a nine-year period). Foran Deel.
  4 Ex. A at 5; Dkt. No. 9 , 11. Arabi is unable to point to any specific report or review,

  5 and instead "merely hopes that something useful will tum up." United States v.

  6 Noriega, 764 F. Supp. 1480, 1493 (S.D. Fla. 1991) ("If the moving party cannot

  7 reasonably specify the information contained or believed to be contained in the

  8 documents sought but merely hopes that something useful will tum up, this is a sure

  9 sign that the subpoena is being misused."). This request thus fails to demand

 10 documents that are "sharply defined," as Rule 17(c) requires. Sellers, 275 F.R.D. at

 11 624; United States v. W.R. Grace, 434 F. Supp. 2d 869, 873 (D. Mont. 2006) ("where

 12 the party seeking the subpoena can describe the material sought only in broad terms or

 13 is unsure whether the material even exists, and where the claim of relevance is
 14 necessarily speculative, the request is likely to be denied").

 15        D.     Request 7 (Legal Holds) Seeks Privileged, Irrelevant Information.
 16        Request 7 seeks "[a]ll emails and other documentation regarding the
 17 preservation notices or legal hold notices and releases of those preservation notices or

 18 legal hold notices with respect to the Abreezio acquisition that were provided to

 19 Qualcomm employees." Foran Deel. Ex. A at 6. It is improper and fails the Nixon
 20 requirements because it seeks privileged, irrelevant, and inadmissible documents.

 21        Qualcomm's legal hold notice and communications relating to it were sent at
 22 the direction of counsel in anticipation of or as part of litigation. Foran Deel. , 9. They

 23 are protected by both the work product doctrine and attorney-client privilege. See

 24 Cohen v. Trump, No. 13-CV-2519-GPC WVG, 2015 WL 3617124, at *7 (S.D. Cal.

 25 June 9, 2015) (noting "the hold memo itself is privileged"); Persona/Web Techs., LLC

 26 v. Google Inc., No. C13-01317 EID (HRL), 2014 WL 4088201, at *4 (N.D. Cal. Aug.

 27 19, 2014) ("the Court agrees ... that the litigation hold notice itself is protected as

 28 attorney-client communications and/or work product"); In re eBay Seller Antitrust
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  l Litig., No. C 07-01882 JF (RS), 2007 WL 2852364, at *2 (N.D. Cal. Oct. 2, 2007)

  2   (similar). Even in the civil context which allows for much more expansive discovery, 9
  3   courts across the country find litigation hold letters "as a general matter . . . are not
  4 discoverable" because they tread on applicable privileges. See Major Tours, Inc. v.

  5   Co/ore/, No. CIV 05-3091(JBS/JS), 2009 WL 2413631, at *2 (D.N.J. Aug. 4, 2009)
  6 ( collecting authorities). Since it calls for privileged materials, Request 7 must be

  7 quashed. See, e.g., United States v. Tomison, 969 F. Supp. 587, 597 (E.D. Cal. 1997)

  8   (noting "the general principle that a recipient may seek to quash a Rule 17(c) subpoena
  9 on the grounds that it seeks material protected by the attorney-client privilege") (citing

 10 In re Grand Jury Subpoena 92-1 (SJ), 31 F.3d 826 (9th Cir. 1994)); United States v.

 11 Ellis, No. 13-CR-00818-PJH(DMR), 2017 WL 1164172, at *3 (N.D. Cal. Mar. 29,

 12   2017) (quashing subpoena that sought privileged matter).
 13         Even if Arabi could overcome the privilege issue (he cannot), Request 7 presents
 14   another glaring defect: the request is irrelevant to the offenses charged in the
 15   indictment. See Sellers, 275 F.R.D. at 624. "A litigation hold memorandum or notice
 16   is not evidence of a party's claims or defenses," but rather "falls within the type of
 17   non-substantive information that constitutes discovery on discovery." LKQ Corp. v.
 18   Kia Motors Am., Inc., 345 F.R.D. 152, 168 (N.D. Ill. 2023). Qualcomm's preservation
 19   conduct in the Civil Litigation is not at issue in this criminal prosecution where
 20   Qualcomm is a non-party (and victim). Even if it were, Arabi cannot make any
 21   preliminary showing that Qualcomm has failed to preserve evidence, and mere
 22   speculation is not sufficient to sustain his request. See Sellers, 275 F.R.D. at 623-24
 23   ("Conclusory allegations of relevance and admissibility are insufficient to meet the
 24   [party seeking the subpoena's] burden.") (citing United States v. Eden, 659 F.2d 1376,
 25   1381 (9th Cir. 1981)). Request 7 thus represents a "fishing expedition to see what may
 26
 27   9 See United States v. Patterson, No. TJS-20-1078, 2020 WL 2217262, at *4, fn.5 (D.
      Md. May 7, 2020) (noting the scope of information available under Rule 17 "pales in
 28   comparison to what is available under the civil discovery rules").
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  1 tum up." Bowman, 341 U.S. at 221. Arabi cannot show, as he must, that Request 7

  2 seeks documents that are evidentiary and relevant, so the request should be quashed.

  3 V.     CONCLUSION
  4        The Court found the 2023 Subpoena was largely an improper fishing expedition
  5   on non-party-victim Qualcomm. The 2024 Subpoena is more of the same. It seeks
  6 many of the same documents, suffers from the same defects, and serves to harass

  7 Qualcomm-the victim of Arabi's crimes-even further. Qualcomm respectfully

  8 requests the Court grant this motion and quash the 2024 Subpoena.
  9 Dated: November 20, 2024              Respectfully submitted,
 10                                       HUESTON HENNIGAN LLP
 11

 12
                                               Marshall A. Camp
 13                                            Padraic W. Foran
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  1                              PROOF OF SERVICE
  2                        United States ofAmerica, V. Karim Arabi, et al.
                U.S.D.C. Southern District of California, Case No. 3:22-cr-01152-BAS
  3
             I am employed in the County of Los Angeles, State of California. I am over the
  4   age of 18 and not a party to the within action. My business address is 523 West 6th
      Street, Suite 400, Los Angeles, CA 90014.
  5
           I hereby certify that on November 21 , 2024, I caused the electronica]Jy filed
  6 aforementioned document with the United States District Court Southern District
    of California by using the CM/ECF system. I certify that counsel of record
  7 registered as ECF Filers will be served by the CM/ECF system.

  8        I declare under penalty of perjury under the laws of the United States of America
    that the foregoing is true and correct, and that I am employed in the office of a member
  9 of the bar of this Court at whose direction the service was made.

 10         Executed on November 21, 2024, at Los Angeles, California.
 11

 12
                   Susan Segovia
 13
                (Type or print name)                              (Signature)
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